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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff

Docket No. 1-20-cr-00278-TNM

-V-

KEITH BERMAN, Leave to file GRANTED

TREVOR N. MCFADDEN WI
United States District Judge 4 Z/

   

Defendant

 

DEFENDANT'S REPLY TO THE GOVERNMENT'S OPPOSITION TO
DEFENDANTS MOTION TO MODIFY THE TERMS OF PRETRIAL RELEASE

INTRODUCTION

The Government's opposition to each and every proposed modification reveals an
attitude toward bail, and to Mr. Berman in particular, that is difficult to fathom.

The Government’s position is at odds with the governing principles of bail set forth in 18
U.S.C, Section 3142, which provides, in pertinent part, “The judicial officer shall order the
pretrial release...subject to the least restrictive further condition, or combination of conditions,
that such judicial officer determines will reasonably assure the appearance of the person as
required and the safety of any other person and the community.”

Contrary to the letter and spirit of this “least restrictive” conditions approach, the

Government opposes any modification of the bail set four months ago while accusing Mr.

 

 
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Berman of violating the existing terms of his bail plus 2 panoply of other wrongtul and even
criminal conduct in a manner that is SO exaggerated it borders on the hysterical. Despite these
claims, the Government cites nothing from Pretrial Services Officer Ochoa, who is supervising
Mr. Berman’s release on bail, suggestive of any such concerns. Indeed, defense counsel
contacted Officer Ochoa to alert her about the intended bail motion. She remarked that she
appreciated the “head’s up” but evinced no concem about any modification of the initial bail

terms-—much less, a8 the Government alleges, that she considers Mr. Berman to have embarked

ona criminal campaign 10 intimidate so-called “victims,” tamper with witnesses, obstruct justice,
and sneak across the! bonds to Mexico. The Government goes So far as to raise the specter of
‘secking a detention order from the Court even though the high bar for such an order, undet

Section 3142, is one the Government could not meet.

The C laim.of | Inappropriate € Cc ‘ommunication

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Although the Government devotes a good portion of its opposition to paraphrasing the
unproven allegations in the Indictment, the heart of its submission js the contention that Mr.
Berman has engaged in “inappropriate discussions... with victims of the {alleged] fraud.” (Govt.
Opp. p.4). The Government has included with its submission three exhibits containing
communications between Mr. Berman and two of the approximately 12,000 DECN shareholders.

But its description of them fails to take into account both the content and context of these

 

communications as well as, more significantly, that the relationship these two persons have with

 

DECN is not limited to that of shareholder. They are supporters of the company who have

provided. it with their personal assistance.

 
 

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Several preliminary points are relevant. First, while some of the text exchanges with the
two personis include references to the pending case, most are about the subject of DECN’s
development of 4 saliva-based COVID-19 home test kit, a subject unrelated to the pending case,
which focuses on Mr. Berman’s prior effort to develop a blood-based test kit. Second, the
prohibition on Mr. Berman’s communications with shareholders is highly artificial, even hyper-
technical. It prohibits only individual communication and would permit such communication as
Jong as more than one shareholder is present. In addition, Mr. Berman objects to the
Government’s inclusion in the publicly-filed record of what he regards as confidential
proprietary information concerning certain ratios relevant to the saliva-based product. (Ex. 2,

p. 3). The Government also contends that Mr. Berman need not communicate at all with DECN
shareholders because, when interviewed about his income by Pre-Trial Services, he said he
received no compensation from DECN. Therefore, according to the Government, Mr. Berman
should devote himself to other more remunerative employment. The fact is that being the sole
officer and director of DECN is Mr. Berman's full-time vocation and primary focus of his
energies. He derives a modest income fiom managing ihe assets of two predecessor companies,
from occasional consulting and, before team. sports were discontinued due to the pandemic,
coaching high school baseball. Finally, while the Government refers to the risk of witness
tampering, (Govt. Opp. p. 5), one searches its submission in vain for the name of any witness

who is the target of improper influence.

 

Turning to the specific text messages at issue, the Government contends these |
communications were with “known victims” of the alleged fraud and, deploying its customary

overwrought tone, characterizes the texts as involving Mr. Berman’s “pattern of using,

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misleading, intimidating and infl uencing shareholders for his own personal benefit.” (Govt. App.
p. 3). However, upon examination, the actual communications are friendly, congenial, and
involve not a scintilla of intimidation or other wrongful behavior.

Indeed, although the Government states that it has interviewed boih of the persons to

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whom it has assigned the sobriquets of “Victim 1” and “Victim 2,” it mentions nothing it gleaned

from these interviews. Conspicuous by its absence is anything that would support the

 

designation of these individuals as “victims.” This may well be due to the fact, as the actual

communications show, the two persons are supporters of DECN who believe in its development |

 

of the saliva-based home COVID-19 test kit. This was confirmed by defense counsel’s

conversations with both persons. They both resisted—and thus we continue to resist—the notion

 

that they are victims of a fraud perpetrated by Mr. Berman. As one of these persons volunteered
to Mr. Berman in the Exhibit 2 exchange: “I am supporting something that can help a

pandemic. ..1 will do what I can to help.” It is my understanding that this person’s help included.
acting as the liaison with the XPrize Foundation in connection with DECN’s entry in the XPrize
competition.

The other person whose communications are quoted said the following about receiving a
saliva-based kit for testing: “I believed it all along, but it is very exciting to hold it!” When in the
same texts, Mr. Berman suggests the person: “try to video the test if you can,” the reply is: “do
pcople really think I am going to spit in public?? Lol.” (Ex. 4). Is this evidence of what the
Government genuinely believes to be a “pattern of using, misleading, intimidating, and

influencing shareholders for [Mr. Berman’s] own personal benefit?”

 

 
 

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‘The Government also repeatedly misconstrues the communications cited in its three
exhibits. For instance, it describes an exchange set forth in Exhibit 2 as Mr. Berman having
“directed Victim 1 to stop cooperating with the government's investigation,” (Govt. App. p.4).
However, a natural reading of the excerpt of the text exchange is that appears to have arisen from
the person contacting Mr. Berman, perhaps to express annoyance, that he was apparently being
asked by a postal inspector to submit to a third government interview. Rather than “direct[ing]
Victim 1 to stop cooperating,” as the Government contends, Mr. Berman’s response amounts to
no more than a suggestion to a then possibly reluctant interviewee that he tell the postal inspector
he might feel more comfortable conferring with counsel before scheduling yet another
government interview.

Second, the Government takes Mr, Berman to task for observing that the postal
inspector’s interviewing appeared to focus “not directly fon me]” but on the saliva-based test kit,
“[a] product that [is] not part of the indictment,” and for speculating to his interlocutors that such
interviews were aimed at the discovery of government trial witnesses, (id.) Neither statement
seems false or improperly motivated.

The Government studiously avoids drawing the Court’s attention to the portions of the
texts in Exhibit 2 which refute its claims of intimidation or wrongful influence. In response to
Mr. Berman’s comment about the postal inspector and the search for new witnesses, his
correspondent says: “] think [the postal inspector] is just doing her job. I can’t speak for the rest
of the team against you...1 just hope there are some good people on the other side,” and in the

same vein: “I hope there are respectable, fair people on the prosecutions side.”

 

 
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The Government also focuses on Mr. Berman’s reference to the reputational damage that
he Believes the Indictment and parallel SEC civil case caused to DECN—an unremarkable
opinion for a defendant in his position. The Government's objection is that it regards Mr.
Berman’s opinion to be a “false statement” made “to influence Victim 1’s view of the facis of the
case,” because it “blam[ed] the government.” This recalls the Government's December 17
statement to defense counsel, while negotiating the initial bail terms, to the effect that Me.
Berman was not a good candidate for bail because he had demonstrated a “disdain for the federal
government.” The fact that a defendant sends a text critical of the Government should not weigh
much in the pretrial release balance pan. Moreover, as we have already shown, the person with
whom Mr. Berman was conununicating was not wrongly influenced at all but rather sought to
reassure Mr. Berman about his hope in the fairness of the prosecution.

Finally, the Government contends it was wrong for Mr. Berman to ask supporters to
express to the XPrize Foundation~--which rewards innovation in, among other areas, the life
sciences—the unfairness of dropping DECN from the final stages of competition because the
Foundation was apparently notified by a third party of the pending criminal case against Mr.
Berman. His request for help in this regard seems no different in kind from the familiar email
requests many receive from companies and nonprofit organizations to cast a vote for them so
they can attain a higher ranking on some list and gain heightened exposure. Here, Mr. Berman
was hoping an outpouring of support might similarly enable DECN and its saliva-based test kit
{o garner positive exposure—especially if the Foundation was willing to take a second look at

the product rather than focusing on Mr. Berman’s personal circumstances.

 

 

 

 
 

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Mr. Berman’s belief that there are third parties who will take action to harm him and
DECN—such as spoiling its chances in the XPrize competition—is not imaginary. Within hours
of filings in this case, there are internet trolls and self-appointed. critics of Mr. Berman and
DECN who pull these filings from PACER, and availing themselves of the anonymity of the
internet, post scurrilous and erroneous statements vilifying Mr. Berman and DECN. One such
post mistakenly stated that any sale by an owner of DECN shares did not go to the seller but
instead went to the coffers of DECN. These posts often include vulgar epithets. The gentlest of
these is “Bozo Berman,” but also “MF Berman,” and Berman that “POS.” Apart from such
disparagement, there are also posts that even take credit for interfering in DECN’s business. One
illustrative example is a March 28, 2021 post by Johnny C in which he boasts: “I was certainly a
big factor in torpedoing Bozo Berman’s atlempted merger with TAUG,” which refers to Tauriga
Sciences, Inc., another life sciences company. (Exhibit A) In sum, it is difficult to discem what
this email campaign has to do with the issue of bail,

The Travel Restrictions

Devoting barely a single page to this issue, the Government pronounces itself satisfied
that limiting Mr. Berman to the Central District of California and the District of Columbia is
“telatively lenient” and “no meaningful restraint[_] on his personal liberty” (Govt. Opp. p.8)
because the bail-setting Magistrate Judge could have but did not require that he wear an ankle
monitor or observe a curfew. This is a fallacious argument in that those more restrictive
conditions were never considered by the Court.

The Government also opposes Mr. Berman being allowed to travel to Souther California

or Arizona because, even though these districts are contiguous with the Central District, they are

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also “jurisdictions bordering Mexico,” providing an opportunity for Mr. Berman to “successfully
flee.” (Govt. Opp. p. 7). This is a ted herring. The Government knows Mr. Berman has no
passport which is needed to travel to Mexico. https://travel, state, zov/content/travel/en/

international-travel/I nlernational-Travel-C -ountry-Information-Pages/Mexita.ht mil. Had he

 

been so eager to flee, as the Government contends, why has he not done so in the past for
months?

The balance of the Government’s objections are practical quibbles—Mr. Berman need not
travel for business since he can have Meetings via Zoom or some other platform; he need not
travel to San Diego to visit his son because his son can travel to Los Angeles to see his father;
despite being DECN’s sole officer and director, Mr. Berman could deputize someone else to
conduct business meetings outside of Los Angeles, Repeating the argument it made on December
17th, the Government has persuaded itself that a 67-year old businessman, under active Pre‘Lrial
Services supervision, is on the verge of making a break for the border.

The only point with which we agree with the Government is that, if the Court modifies
the travel restrictions, Mr. Berman will of course work with his supervising PreTrial Services
Officer about any travel outside the Central District of California.

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For the foregoing reasons, and the grounds set forth in the initial motion, the motion to

modify bail conditions should be granted,

Dated: April 13, 2021
New York, New York

 

 

 
 

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EXHIBIT A

 

 
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Decision Diagnostics Corp. (DECN): So wie is bullshitiing who..." I'm confident that Af1{21, 7:29 PM

 

 

 

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Spongetech was in business for a few years before

2. Did you purposely leave out that one of the
reasons for the light sentence was that the judge

| tules key evidence inadmissable due to misconduct
_ by the Government? Or was that just an oversight?

Why was the civil settlement only $100.00? Why
did you not state that the criminal case never went
to trial?

3. There are plenty of cases where penny stock
fraudsters like berman got jail time, so the example

you cite is silly, Moreover, | don't know of any cases |

like berman's, Most criminal cases have a CEO,
CFO, Vice President and BOD so blame can be
passed around. Berman is it, he is the guy; chief
honcho, chef, dishwasher, floor sweeper. Berman
cannot pass the uck to anyonel

Any dope on the street with a bit of common sense

| will know that if berman's case goes to trial and he

is found guilty he will get a heavier sentence than
he wauld have with a plea bargain. Add that this

| was pandemic which the SEC and DO. put out
' warnings about and then sprinkle on Berman's

intimidation tactics of the SEC lawyers and itis a
recipe for a heavier sentence.

| had about 400,000 more reasons to pay attention

to Bozo Berman before you knew his name even
existed, as in $400,000 of reasons stemming back
to believing the Johnson and Johnson hype. That is
why | had every one of Berman's posts on three
forums copied. | certainly was a big factor in
torpedaing Bozo Berman's attempted merger with
TAUG which he rightfully blamed me, which

showed that | didn't care about losing all that
dough!

hitss://inveslorshub.advin.com/boards/read_isy aspx?message_id=162841714

 

 

 

 

 

 

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wealthy | exact sales it was well into the 50 million range. —————————————
ALLY They didn't have a fake blood test Cavid 12 second | Bid Ask = Day's Range |
REALLY | test like Bozo Berman. Anyone that Googles the oor =| owe 8 EAT |
make you | case will see the numerous deals they also had | ones
with a dozens of major league sports teams. = = Soe
happy? | ee _____ BEGIN Detailed Quote
=, : Thatis another factual difference between DECN's 4D USOTCDECH
, @ ‘ | bozo berman CEO and the Spongetech guys. 1M i ; I]
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Lee. ee DECN's Berman and Spongetech is nonsense. dee
ape | ; 6M + Uf jjoars

1. Berman committed fraud on investors using a 7 } ies
| pandemic as the catalyst and the stock traded well - ia a a ee

| into the 100’s of millions of dollars from 2 cents with | 3° [7 Ta

| no volume to up to .50 cents on 20 million share oY ioe
days ar dsr

 

 

 

The Rapid Rise of Alternet
Systems, Inc. (OTCMKTS: ALYI)

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